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UNITED STA TES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA
-----------------------------------------------------)(
DA YID HOPKir,.;s                                         Civil Action No.:

                                                          COMPLAINT
                           Plaintiff,

                  V.



CROTHALL HEAL TH CARE, r-.JC.

and

HOSPITAL OF THE UNIVERSITY
OF PENNSYLVANIA




                           Defendant.                     Jury Trial Demanded
-----------------------------------------------------)(
                                           NATt;RE OF ACTION

      I . Plaintiff, David Hopkins, an employee of Crothall Health brings this lawsuit against his

         employer, Crothall Healthcare, Inc. (Crothall) and the Hospital of the University of
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   Pennsylvania, to remedy discrimination based upon his HIV status on the part of Crothall.

   Crothall subjected Plaintiff to disability discrimination and a hostile and discriminatory

   work environment in violation of federal law.

                                         PARTIES

2. Plaintiff, David Hopkins, is an adult individual, residing at 3970 Gateway Drive

   C4, Philadelphia, Pa 19145. At all times material hereto, Plaintiff was employed by

   Defendant, Crothall, as a manager of the Environmental Services department at the

   University of Pennsylvania Hospital. Plaintiff is HIV positive.

3. Defendant, Crothall Healthcare, Inc., is a healthcare company that provides services to

   healthcare clients in the United States. Crothall services include environmental services,

   patient transportation, and laundry and linen services. Crothall is headquartered in

   Wayne, Pennsylvania. Crothall is a subcontractor for University of Pennsylvania Hospital

   and carries out environmental/janitorial services for the Hospital.
                                                                                          '
4. Defendant, Hospital of the Cniversity of Pennsylvania (IHJP) is the flagship hospital of
                                                                                  \




   the University of Pennsylvania Health System and is located in the University section of

   West Philadelphia.


                                JURISDICTION AND VENUE

5. Jurisdiction over the matter is conferred upon the Court by 28 U.S.C. § 1331, as the cause

   of action arises under federal law.

6. Venue lies in this district in that the events giving rise to this claim occurred in this

   jurisdiction.

                                   STATEMENT OFFACTS

7. The above paragraphs are incorporated herein by reference.
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8. Crothall, discriminated against and wrongfully terminated Plaintiff based upon his HIV

   status.

9. Plaintiff was employed by Crothall from October 2017 until April 2018 as an operations

   manager of environmental services. Plaintiff is I IIV positive.

10. During his time at Crothall, Plaintiff had a good work record, and never violated any of

   Crothall' s policies.

11. In or around April 2018, Plaintiff was scheduled to work third shift, which runs from

   approximately midnight until mid-morning. Plaintiffs physician advised that he should

   not be working all night as it would be detrimental to his health.

12. On or about April 17, 2018, at approximately 2:00 pm Plaintiff presented his supervisor,

   Letitia, with a doctor's note saying that due to a chronic medical condition and he could

   not work third shift. Plaintiffs manager asked what his condition was.

13. Reluctantly, as it was confidential and personal information, Plaintiff informed Letitia

   that he was HIV positive.

14. Letitia told him to go downstairs to the daily meeting and she would address that (his

   I IIV status) later.

15. At approximately 3 pm, one hour later on or about April 17, 2017, Plaintiff was

   terminated.

16. Plaintiff was told by Letitia that his services at Crothall were no longer needed.

17. Plaintiff was told that the reason for his termination was that he was "asking too many

   questions."
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18. The firing of Plaintiff was pretextual. Plaintiff had a reputable work record, and never

    violated any Crothall policies. Plaintiffs termination was pretextual for HIV

    discrimination.

19. Upon information and belief, it is not a coincidence that Plaintiff was fired only one hour

    after informing his supervisor of his HIV status.

20. Plaintiff alleges that he received disparate and discriminatory treatment based upon the

    foregoing unlawful factors.

21. Plaintiff has exhausted said remedies after filing with the EEOC and other state agencies

    and has obtained a right to sue. This action is filed within 90 days of the issuance of

    Plaintiffs right to sue letter from the EEOC. (See Exhibit A).

                                      CAt;SES OF ACTION

                                          COUNTI
                                   VIOLATION OF TITLE VII

22. The above paragraphs are hereby incorporated herein by reference.

23. By committing the foregoing acts of discrimination against Plaintiff,

24. Defendants have violated Title VII.

25. Said violations were done with malice and/or reckless indifference, and warrant the

26. imposition of punitive damages.

27. As a direct and proximate result of Defendants violation of Title VII, Plaintiff has

28. suffered the damages and losses set forth herein and has incurred attorney's fees and

29. costs.

30. Plaintiff is now suffering and will continue to suffer irreparable injury and monetary

31. damages as a result of Defendants discriminatory acts unless and until

32. this Court grants the relief requested herein.
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                                         COUNT II
                                      ADA VIOLATIONS

33. The foregoing paragraphs are incorporated herein by reference.

34. In addition, and/or in the alternative, the foregoing adverse employment actions taken

   against Plaintiff constituted retaliation for Plaintiffs lawful requests and exercise of

   rights under the ADA.

35. The foregoing paragraphs are incorporated herein by reference.

36. The foregoing actions of Defendant created a hostile work environment that was severe

   and pervasive and that altered the terms and conditions of Plaintiffs employment.

37. Further, Defendants failed to accommodate Plaintiffs disability or perceived disability

   and failed to engaged in a constructive, interactive process concerning same.

                                 COUNT III
               INTE~TIONAL INFLICTION OF E:\'IOTIO~AL DISTRESS

38. The above paragraphs are incorporated herein by reference.

39. The actions of the Defendant, were designed to emotionally harm Plaintiff by causing

   him to subsist in an overwhelming, intimidating and hostile work environment.

40. The conduct of Crothall was intentional, oppressive, malicious and/or in wanton

   disregard of the rights and feelings of Plaintiff and constitutes despicable conduct, and by

   reason thereof Plaintiff demands exemplary or punitive damages against Defendants in an

   amount appropriate to punish Defendants and to deter Defendants and others from such

   conduct in the future.

                              COUNTIV
    VIOLA TIO~ OF THE PENNSYLVANIA HUMA.""i' RELATIONS ACT (PHRA)

41. The foregoing paragraphs are incorporated herein by reference.
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   42. The above acts and practices of Defendant constitute unlawful discriminatory property

        use practices under the Pennsylvania Human Relations Act.

   43. As a result of Defendant's discriminatory acts, Plaintiffs have suffered and shall continue

        to suffer monetary damages and damages for mental suffering and humiliation unless and

        until the Court grants relief.

                                         PRAYER FOR RELIEI<'

   WHEREFORE, Plaintiffs respectfully requests that this Honorable Court enter judgment in

favor of Plaintiff and against Defendants, and Order the following relief:

   a. A declaratory judgment declaring that Defendants have illegally discriminated against

        Plaintiff;

   b. Declaring the acts and practices complained of herein are in violation of the ADA 42

        C.S.C. Section 12101 et. seq.;

   c. Enjoining and permanently restraining the violations of the ADA pursuant to the ADA;

   d. Require Defendants to pay all earnings Plaintiff would have received, but for the

        discriminatory practices, including but not limited to, front and back pay and otherwise

        lost and future benefits pursuant to the 29 U.S.C. Section 2617;

   e. Payment of compensatory and punitive damages, to all Plaintiffs in an amount to be

        determined at trial; and,

   f.   An award of Plaintiffs; attorneys' fees and costs of suit as provided by Section 505 of

        the ADA, 42 U.S.C. Section 12205 and 29 U.S.C. Section 26179(a)(3);

   g. Such other relief as this honorable Court deems just and proper.
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Respectfully submitted,

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DATED: 11-14-18

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Attorney for Plaintiff                    Attorney for Plaintiff




DATED: 11-14-18                           DATEDl-14-18
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EXHIBIT A
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 EEOC Form 161-B (11/16)                   U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                                         NOTICE OF RIGHT TO SUE {ISSUED ON REQUEST}
To:     David J. Hopkins                                                                 From:   Philadelphia District Office
        3970 Gateway Drive                                                                       801 Market Street
        AptC4                                                                                    Suite 1300
        Philadelphia, PA 19145                                                                   Philadelphia, PA 19107




       D          On behalf of person(s) aggrieved whose identity is
                  CONFIDENTIAL (29 CFR §16()1 7(a))

 EEOC Charge No.                                         EEOC Representative                                              Telephone No


 530-2018-03591                                          Legal Unit                                                       (215) 440-2828
                                                                                      (See also the additional infonnation enclosed with this fonn.)
NOTICE TO THE PERSON AGGRIEVED:
Title VII of the Civil Rights Act of 1964, the Americans with Disabilities Act (ADA), or the Genetic Information Nondiscrimination
Act (GINA): This is your Notice of Right to Sue, issued under Title VII, the ADA or GINA based on the above-numbered charge. It has
been issued at your request. Your lawsuit under Title VII, the ADA or GINA must be filed In a federal or state court WITHIN 90 DAYS
of your receipt of this notice; or your right to sue based on this charge will be lost. {The time limit for filing suit based on a claim under
state law may be different )

       D         More than 180 days have passed since the filing of this charge.

       []]       Less than 180 days have passed since the filing of this charge. but I have determined that it is unlikely that the EEOC will
                 be able to complete its administrative processing within 180 days from the filing of this charge.

       m         The EEOC is terminating its processing of this charge.

       D         The EEOC will continue to process this charge.
Age Discrimination In Employment Act (ADEA): You may sue under the ADEA at any time from 60 days after the charge was filed until
90 days after you receive notice that we have completed action on the charge. In this regard, the paragraph marked below applies to
your case:
       D         The EEOC is closing your case. Therefore, your lawsuit under the ADEA must be filed in federal or state court WITHIN
                 90 DAYS of your receipt of this Notice. Otherwise, your right to sue based on the above-numbered charge will be lost.

       D         The EEOC is continuing its handling of your ADEA case. However, if 60 days have passed since the filing of the charge,
                 you may file suit in federal or state court under the ADEA at this time.

Equal Pay Act (EPA): You already have the right to sue under the EPA (filing an EEOC charge is not required.) EPA suits must be brought
in federal or state court within 2 years (3 years for willful violations) of the alleged EPA underpayment. This means that backpay due for
any violations that occurred more than 2 years (3 y,ats) before you file suit may not be collectible.

If you file suit, based on this charge, please send a copy of your court complaint to this office.

                                                                            On behalf of the Commission




 Enclosures(s)                                                         Ja   ~
                                                                            ieR.WilUamson,
                                                                            District Director
                                                                                                                                (Data Mailed)



 cc:           Bhavln Patel                                                             Lisa M. Claire
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